Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 1 of 9

WYLIE G. HUNTER

Self Represented Litigant
1401 E. Coeur d’Alene Ave.
Coeur d’Alene, ID 83814
(208) 620-0627

U.S. COURTS
JUN 2 2019

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STEPHEN W, KENYON

CLERK, DISTRICT OF IDAHO

UNITED STATES DISTRIC COURT
DISTRICT OF IDAHO

WYLIE G. HUNTER,

Plaintiff,
Vv.

STATE OF IDAHO, Governor Brad Little,
District Judge Lansing Haynes,
Prosecutor Barry McHugh, Former
Deputy Prosecutor Ann Wick, ISP
Detective Terry Morgan, ISP Trooper
Ron Sutton, Retained Attorneys: John
Redal, Doug Phelps, and James Siebe,
Investigator Ted Pulver, States
Witnesses Misty Whited and Richard
Shabazian, and DOES 1-5,

Defendants.

 

Case No.: | ‘19-Cyv- o-27-RUDd

COMPLAINT FOR FRAUD ON THE COURT
(28 U.S.C. § 1331: Federal question)

Jury Trial Requested xx yes ___no

 

1. JURISDICTION

Jurisdiction in this case is based on a federal question (meaning that this suit is based
upon a federal statute or provision of the United States Constitution):

  

ederal Statute: 28 U.S.C. §1331
nited States Constitution (Fourth and Sixth Amendment)

O And a state law claim under the Court’s supplemental jurisdiction authority.

Complaint for Fraud on the Court
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 2 of 9

2. PLAINTIFF

My name is WYLIE G. HUNTER. | am a citizen of the State of Idaho, County of
Kootenai, presently residing at 1401 E. Coeur d’Alene Ave., Coeur d’Alene, ID 83814.

3. DEFENDANT AND CAUSE OF ACTION

A. | am suing the State of Idaho (through its agents, servants and employees
and defense lawyers, officers of the court, John Redal, Doug Phelps, James Siebe,
and Investigator Ted Pulver) for the clear and convincing evidence of material facts
in this Fraud on the Court Motion with regard to State v Hunter, Case No. CRF-
2007-20448 that represents three (3) Motions to Suppress Hearings held on
February 15 and continued on February 25, 2008 and March 20, 2009. The
evidence proves Deputy Prosecutor Ann Wick, officer of the court, ISP Detective
Terry Morgan, ISP Trooper Ron Sutton, State Witness Misty Whited, and Richard
Shabazian all knowingly and willfully are guilty of committing felony criminal
violations. All paid in full defense lawyers, John Redal, Doug Phelps, James Siebe
and paid in full investigator Ted Pulver, all knowingly and willfully were illegally
concealing favorable evidence of material fact from Hunter. Their conduct was
particularly egregious characterized by perjured testimony and false fabrications in
furtherance of a scheme designed to conceal critical materials from the court and its
decision and Wylie Hunter's defense of the action, where their conduct was
perpetrated repeatedly under the supervision of Deputy Prosecutor Ann Wick, officer
of the court, and her investigator in this case, ISP Detective Terry Morgan.

1. Governor Brad Little is responsible for the Idaho State Police. With the clear
and convincing evidence of material facts you have already been a witness to
in the Fraud on the Court Motion filed in U.S. Court on April 5, 2019, Case
No. CV-19-113 | am serving you a recent filed Fraud on the Court Motion filed
in U.S. Court in regards to the Original Criminal Case No. CRF-2007-20448,
State v Hunter. The evidence of material facts from the two motions filed in
U.S. Courts that proves Idaho State officers of the court, Idaho State Police
officers, employees and witnesses for the State all knowingly and willfully are
guilty of committing felony criminal violations of material facts in the Idaho
State Courts and manufacturing evidence of material facts. It becomes your
higher duty to investigate or cause to be investigated any possible, illegal or
unconstitutional notice brought to your personal attention by any party. To fail
to act on possible criminal or civil rights violations creates a personal liability
on your part. The higher duty to know the law and act within it runs all the way
to the top.

2. District Judge Lansing Haynes. There is clear and convincing evidence of
material facts that Judge Haynes did not have jurisdiction assigned to him to
rule on State v Hunter, Case No. CRF-2007-20448. In Judge Haynes’ final
decision in the Motion to Suppress Hearing held on March 20, 2009, he ruled
on falsification of facts against Hunter. There is also evidence of material

Complaint for Fraud on the Court 2
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 3 of 9

facts to prove Judge Haynes violated Hunter's fundamental right to due
process, fair and impartial hearing, as guaranteed in the U.S. Constitution by
the Fourth and Sixth Amendments and the State of Idaho Constitution.

. Kootenai County Prosecutor, Barry McHugh. Under ABA standards and
Rules of Procedure 31.1, the duty of the Prosecutor is to seek justice not
merely convict. Barry McHugh being the chief prosecutor was responsible for
the criminal actions and illegal and criminal conduct by Deputy Prosecutor
Ann Wick. Mr. McHugh has absolute immunity so long as he is acting within
his scope of his duty. The chief prosecutor McHugh had to know the
unethical, illegal concealment of the DVD R1-1169 and other illegal and
criminal acts of his Deputy Prosecutor Ann Wick or suspected. He did not
step forward to correct the situation or bring knowledge of the situation to the
proper authorities. By doing nothing he is an accomplice in illegal activities
for his knowledge and could be held legally responsible.

. Former Deputy Prosecutor Ann Wick. There is clear and convincing evidence
of material facts in this Fraud on the Court Motion to prove former Deputy
Prosecutor Ann Wick officer of the court knowingly and willfully is guilty of
committing several criminal felony violations and fabricating false evidence of
material facts during the Motion to Suppress Hearings held on February 15
and continued on February 25, 2008 and March 20, 2009. The absolute truth
proves Ann Wick will deliberately do any illegal criminal act and direct the law
officers and state witnesses under her supervision to do the same to win a
case. How many defendants are serving time in prison for Ann Wick’s evil
illegal criminal actions? Ann Wick is not above the law. All legal authority
over her that doesn’t act creates a personal liability on their part. If you do not
step forward to correct the situation or bring knowledge you have to the
proper authorities, you are an accomplice in the activities if you do nothing.

. ISP Detective Terry Morgan. There is clear and convincing evidence of
material facts to prove in this Fraud on the Court Motion in regards to the -
Motion to Suppress Hearings on February 15 and continued on February 25,
2008 and March 20, 2009 ISP arresting officer and investigator in this case to
prosecutor Ann Wick, Detective Terry Morgan knowingly and willfully is guilty
of committing several criminal felony violations and manufacturing evidence
of material facts. The absolute truth in this motion proves that Detective Terry
Morgan was willing to go to any length of illegal criminal acts to win a case.
Detective Morgan needs to be held responsible for his deliberate felony
violations.

. Trooper Ron Sutton. There is clear and convincing evidence of material facts
to prove in this Fraud on the Court Motion in regards to the Motion to
Suppress Hearings held on February 15, 2008. ISP Trooper Ron Sutton
knowingly and willfully committed several criminal felony violations. This

Complaint for Fraud on the Court 3
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 4 of 9

evidence is proof that Trooper Ron Sutton will be involved in criminal actions
to win acase. Trooper Sutton needs to be held responsible for his felony
violations.

_ John Redal. John Redal was paid in full to bring a Motion to Compel to the
Court to expose the DVD R1-1619 in aid of the disposition of my case.

There is clear and convincing evidence of material facts in this Fraud on the
Court Motion in regards to the Motion to Suppress Hearing held on November
13, 2007 that will prove Attorney John Redal was paid in full in good faith for
his fee from Hunter's family to represent Wylie Hunter. The actions by John
Redal, officer of the court, knowingly and willfully violated all code of ethics
and rules of conduct that attorneys shall at all times follow in fulfilling their
responsibility in respect toward their legal profession, by felony concealment
of important evidence of material facts favorable to Hunter's defense. This
prevented Hunter by John Redal’s fraud and deception from presenting all of
his case to the court and also frauded the court in an unconscionable scheme
designed to improperly influence the court and its decision. If evidence has
been wrongfully kept from the Court, then the court made its decision based
on a misrepresentation. The material facts that are proven in this Motion is
evidence that John Redal, officer of the court, knowingly and willfully was
working in support of Deputy Prosecutor Ann Wick instead of representing
Hunter’s efforts to assert a claim or defense. There is evidence of material
facts to prove John Redal’s deliberate actions contributed to Hunter's
conviction and a 15 year sentence.

. Doug Phelps was paid in full to bring forth a Motion to Compel to the Court to
expose the DVD R1-1619 in aid of the disposition of my case.

There is clear and convincing evidence of material facts in this Fraud on the
Court Motion in regard to the Motion to Suppress Hearing on February 15 and
continued on February 25, 2008 that will prove Attorney Doug Phelps was
paid in full, in good faith for his fee from Hunter's family to represent Wylie
Hunter. The actions by Doug Pheips and his associate Peter Jones officers
of the court knowingly and willfully violated all code of ethics and rules of
conduct that attorneys shall at all times follow in fulfilling their responsibility in
respect for their legal profession by felony concealment of important evidence
of material facts favorable to Hunter's defense. This prevented Hunter by
Doug Phelps’ fraud and deception from presenting all of his case to the court.
Mr. Phelps was involved in an unconscionable scheme to improperly
influence the court and its decision (If evidence has been wrongfully kept from
the court then the court made a decision based on misrepresentation). The
material facts that are proven in this Motion is evidence against Doug Phelps’
an officer of the court, sworn deposition where he knowingly and willfully gave
perjured testimony against Hunter’s claim and defense, proof that Doug
Phelps was working with Deputy Prosecutor Ann Wick in supporting her false

Complaint for Fraud on the Court 4
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 5 of 9

evidence of material facts against Hunter. This is evidence of material facts
to prove Doug Phelps’ deliberate actions contributed to Hunter's conviction
and a 15 year sentence.

. James Siebe was paid in full to bring forth a Motion to Compel to the Court to
expose the DVD R1-1619 in aid of the disposition of my case.

There is clear and convincing evidence of material facts in this Fraud on the
Court Motion in regards to the Motion to Suppress Hearing held on March 20,
2009 with James Siebe as defense lawyer for Hunter. James Siebe deceived
Hunter from his original agreements on the issues he would provide and take
care of before he was paid in full in good faith by Hunter’s family. Most of the
new discovered exhibits by Hunter in this Motion were found in James Siebe’s
past case file. The favorable evidence of material facts were illegally
concealed, withheld and suppressed by James Siebe, he had knowledge of
this evidence that was in his possession. James Siebe an officer of the court
knowingly and willfully denied Hunter the opportunity to present his case. The
favorable evidence of material facts that was never presented by James
Siebe that Hunter was prejudiced by concerns issues that are central to the
truth finding process and interfered with the judicial system's ability,
impartially, to adjudicate a matter (if evidence has been wrongfully kept from
the court, then the court made its decision on misrepresentation.)

In James Siebe’s deposition Pg. 31, L-17:

Question: So these things you say you didn’t track down, those could have
been followed up with the appropriate resources?

Answer Siebe: Right. And | think they may very well have resulted in a
different ending of the case.

10.Ted Pulver. There is clear and convincing evidence of material facts in this

Fraud on the Court Motion in regard to the Motion to Suppress Hearing held
on February 15 and continued to February 25, 2008, that private investigator
Ted Pulver was paid in full in good faith by Hunter’s family at the request from
defense lawyer Doug Phelps. The new discovered memorandum from Ted
Pulver Investigations was illegally withheld (concealed) from Hunter. The
favorable evidence of material facts would have been used for impeachment
purposes for the probable cause to pull Hunter over. Ted Pulver did not fulfill
his professional agreement he agreed to with Hunter after he was paid in full
for his fee.

Complaint for Fraud on the Court 5
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 6 of 9

The clear and convincing evidence of material facts proves Ted Pulver
knowingly and willfully gave perjured testimony in his sworn deposition
against Hunter’s defense and claim that prejudiced Hunter by Ted Pulver
supporting the Prosecutor's case with now false evidence. Hunter was
prevented by Ted Pulver’s fraud and deception from presenting all of his case
to the court an unconscionable scheme by Ted Pulver designed to improperly
influence the court and its decision.

11.States Witness Misty Whited. There is clear and convincing evidence of
material facts in this Fraud on the Court Motion in regard to the Motion to
Suppress Hearing held on February 15, 2008 that proves Misty Whited, a
paid known informant under the direction and control of ISP Detective Morgan
and Deputy Prosecutor Ann Wick was subpoenaed to court knowingly and
willfully by all the above to give perjured testimony to material facts of
evidence to support the prosecution case of a strong smell of marijuana in the
Avis Rent a Car Hunter was driving when he was arrested. The fraudulent
conduct from Misty Whited concerns issues that were central to the truth
finding process a pervasive scheme designed to undermine the judicial
process and thwart Hunter’s efforts to assert a claim or defense by the
prosecutor's repeated perjury and falsification of evidence of material facts
using Misty Whited.

12.State Witness Richard Shabazian. There is clear and convincing evidence of
material facts in this Fraud on the Court Motion in regard to the Motion to
Suppress Hearing held on February 15, 2018 to prove Richard Shabazian
under the direction of ISP Detective Terry Morgan and Deputy Prosecutor
Ann Wick was subpoenaed to court knowingly and willfully by all of the above
to give perjured testimony to material facts of evidence to support the
prosecution’s case for probable cause to search the Impala Hunter was
driving in a fraudulent factory trunk circulation system in the 2007 Chevrolet
Impala. This is more evidence of a pervasive scheme designed to undermine
the judicial process and thwart Hunter's efforts to assert a claim or defense by
deputy prosecutor Ann Wick’s repeated perjury and falsification of material
facts.

B. | am complaining that the Defendants acted in concert and perpetrated a Fraud
on the Court from the clear and convincing evidence of material facts proven in this
motion where deputy prosecutor Ann Wick officer of the court, ISP Detective Terry
Morgan, ISP Trooper Ron Sutton, State Witnesses Misty Whited and Richard
Shabazian all knowingly and willfully committed felony criminal violations repeatedly
throughout the two Motion to Suppress Hearings in this case, #CRF-2007-20448, State
v Hunter, along with paid in full defense lawyers, officer of the court John Redal, Doug
Phelps, his associate Peter Jones, James Siebe and paid investigator Ted Pulver all
knowingly and willfully, illegally withheld concealed and suppressed all favorable

Complaint for Fraud on the Court 6
Case 1:19-cv-00227-BLW Document 1 Filed 06/20/19 Page 7 of 9

evidence of material facts that were in their possession. This resulted in prejudice and
harmed Hunter's efforts to. assert a claim or defense (the favorable evidence in material
facts proven in this motion from Exhibits). This resulted from Hunter being prevented by
fraud and deception from presenting all of his case to the court and a denial of justice.

There is also clear and convincing evidence of material facts in this motion to prove
Judge Lansing Haynes violated Hunter’s fundamental right to due process, a fair and
impartial hearing. The specific acts and proof of it which constituted fraud on the court
are all set forth with particularity in the Motion for Fraud on the Court filed concurrently
herewith.

C. The involvement in the perpetration of a fraud and fraudulent material
misrepresentations made, that are proven from the felony violations that were
committed and above described violated the following provisions of the U.S.
Constitution, the Fourth, Fifth, Sixth, Seventh, Eighth, and Fourteenth Amendment
Rights as well as Hunter’s corresponding rights under the Idaho State Constitution.
Hunter was violated by Deputy Prosecutor Ann Wick officer of the court’s deliberate,
stated failure to disclose the existence of Trooper Ron Sutton’s patrol car video (DVD
R1-1619), along with Officers of the court, John Redal, Doug Phelps, and James
Siebe’s failure to file Compel Motions for the audio/video. This constitutes an
unconscionable scheme by all of the above defendants knowingly and willfully designed
to improperly influence the court and its decision.

D. My life has suffered the following intentional harm damages as a result: | was
wrongfully incarcerated and deprived of my liberty on a continuing basis which .
continues today with my parole status. | suffered a severe MRSA infection that was not
properly treated by the medical staff at Kootenai County Jail and Idaho State Prison.
Collectively they failed to provide proper treatment that has left me with physical and
mental complications for the rest of my life. Where the medical staff at Kootenai
County Jail and Idaho State Prison acted with deliberate indifference to serious medical
need, a violation of my U.S. Constitution and Idaho State Constitutional Rights to be
free from the infliction of cruel and unusual punishment. My physical health, my family
relations have all been damaged in an amount unknowable at present but certain to
continue into the future.

This case is brought to enforce my Constitutional Rights under 42 U.S.C. §1983.

E. | seek the following relief: | request the Honorable Federal Judge to Vacate
Orders and Judgments of the court in State v Hunter Case No. CRF-2007-024448. |
reserve jurisdiction to then seek relief from this court for this §1983 violations which
occurred in my case.

Complaint for Fraud on the Court 7
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 8 of 9

This motion is made pursuant to Federal Rule of Civil Procedure 60(d)(3) (“Rule60)
and shall be based upon this Notice, the attached Memorandum of Points and
Authorities, the Declaration of Wylie G. Hunter and Exhibits attached thereto, the
complete files and records of this action, and such other and further oral and
documentary evidence as may be presented at the Hearing on this Motion. SEE
DECLARATION OF WYLIE G. HUNTER UNDER PENALTY OF PERJURY AND
EXHIBITS 1-28

ORAL ARGUMENT IS REQUESTED
| declare under penalty of perjury:

That | am the plaintiff in this action, that | have read the complaint and that the
information contained in the complaint is true and correct, as required by 28 U.S.C. §
1746 and 18 U.S.C. § 1621.

Executed at: Coeur d’Alene, Idaho on the QO _ day of
2019.

Aut buh

WYLIE G. HUNTER

CERTIFICATE OF SERVICE

|, Wylie Hunter, Hand Delivered Courtesy Copies of the COMPLAINT FOR FRAUD

ON THE COURT on the 20 day of bagel 2019, to the following:
Traci Jo Whelan HAND DELIVERY

United States Attorney
6450 North Mineral Drive, Ste. 200
Coeur d’Alene, ID 83815

Joseph H. Harrington HAND DELIVERY
United States Attorney

920 W. Riverside Ave. #300

Spokane VVA 99201

All Other Defendants (identified below) have been sent out for PERSONAL
SERVICE:

 

 

Governor Brad Little Idaho State Police, District 1
State Capitol Detective Terry Morgan

PO Box 83720 615 W. Wilbur Ave.

700 West Jefferson Coeur d’Alene ID 83815
Boise, ID 83720

 

 

 

Complaint for Fraud on the Court 8
Case 1:19-cv-00227-BLW Document1 Filed 06/20/19 Page 9 of 9

 

 

District Judge Lansing Haynes
Kootenai County Courthouse
324 W. Garden Ave.

Coeur d’Alene, ID 83816-9000

Bernard William McHugh

Kootenai County Prosecutor's Office
PO Box 9000

324 W. Garden Ave. Dept. PAO
Coeur d’Alene, ID 83814

Ann Wick

US Attorney, District Attorney (Spokane)
920 W. Riverside Ave. Ste. 300
Spokane WA 99201

Misty Whited

clo Kootenai County Prosecutor
Office

PO Box 9000

Coeur d'Alene, ID 83816-9000

Richard Shabazian
1030 N. 22" Street
Coeur d’Alene ID 83814

 

Idaho State Police, District 1
Trooper Ron Sutton

615 W Wilbur Ave.

Coeur d’Alene ID 83815

John Redal

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James Siebe

Siebe Law Office

250 Northwest Blvd. #109
Coeur d’Alene ID 83814

Ted Pulver

Pulver Investigation & Polygraph
802 N. Lincoln St.

Post Falls ID 83854

 

 

| declare under penalty of perjury under the laws of the United States of America

and the State of Idaho that the foregoing is true and correct.

Complaint for Fraud on the Court

Dated: ) Lo ‘ Mls Lailb =
VY ee Wylie G. Hunter//”
